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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


RAISHAWN KEY
         Plaintiff
v.
                                                               Case No. 1:17-cv-00007-JDL
CITY OF AUGUSTA,
ROBERTA FOGG,
WILLIAM BRIDGEO,
SUE GOSSELIN,&
JOHN DOES ## 1 — 4,
           Defendants



         DEFENDANTS'RESPONSES TO PLAINTIFF'S REQUESTS FOR INTERROGATORIES


       1.      State in detail the procedure utilized by the City of Augusta in processing
absentee ballots.

        RESPONSE: In general, any would-be voter must demonstrate proof of identity and
proof of residency in order to be registered to vote. Identity can be proven by a governm
                                                                                                ent-
issued photographic identity card or passport, a birth certificate or Social Security Card,
                                                                                            or other
official documents.

         Once a person proves their identity, their residence must be checked. Residence can
                                                                                                       be
shown a number of ways, but the most often is a statement from the would-be voter writing
                                                                                                      out
their address. Other alternate forms of proof of residence include showing an address
                                                                                                where a
motor vehicle is registered, or the residential address where a person receives mail.
                                                                                               Proof of
residence is important because not only is residency a requirement to register to vote, but
                                                                                                  in any
election where there are municipal and state elections (e.g. City Council, State Represen
                                                                                                tative),
the ballot is different depending upon the City ward in which the voter resides. By verifyin
                                                                                                    g the
actual location of the would-be voter's address, the City knows how many of each type
                                                                                               of ballot
to print before Election Day, and each voter is able to vote for the local represen
                                                                                           tatives that
directly represents him or her. The city of Augusta has three state representative districts
                                                                                                (83, 85
and 86) as well as four City Council wards. It is critical to accurately determine which
                                                                                              ward and
state representative district the voter resides in, as to provide the voter with the correct
                                                                                             ballots for
any given election.

        A would-be voter typically shows a drivers' license or passport to prove identity.
                                                                                            That
identifying information is put into a database called the CVR (Central Voter
                                                                                    Registration)
system. Typically, the CVR data successfully verifies a would-be voter's identity, in
                                                                                      which case
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the CVR has confirmed identity. CVR does a verification of Maine driver's license numbers to
verify identity, but it cannot verify other items used to prove identity.

        The Registrar or Deputy Registrar verifies the proof of residency in their municipality. If
the address provided by the voter is a valid address, then the CVR database confirms both
identity and residency. CVR will match the voters' address against the street list that the
Registrar maintains within CVR. There are instances, however, where a would-be voter provides
the City with information that is inconsistent with information in the CVR, or an address that is
entirely invalid. If the street information given by the would-be voter is not in CVR, it will
prompt the user (Registrar) and the registration will not be able to be entered. Sometimes this is
the result of someone moving but not updating the address on their driver's license. Other times,
the person simply provides an invalid address. In these cases, the CVR data is only acceptable to
verify identity, but not residence. When that happens, the would-be voter must provide
additional, alternate documentation to show residency. Once that additional documentation has
been shown, the voter is registered to vote, in the appropriate Ward and State Representative
District in the City.

        In this instance Mr. Key provided proof of identity in the form of a Maine ID card, which
contained an invalid address within Augusta. The voter registration application and request for
absentee ballot was reviewed by a member of the Registrar's staff, Susan Broz (née Gosselin) to
verify the voter's identity and residence. When that staff member reviewed the street address
against the list of streets in CVR and discovered the street was not valid, she presented it to the
Registrar. The Registrar then reviewed the voter registration application and all supportin
                                                                                                    g
documentation. The Registrar then proceeded to verify the applicant's identity (Maine ID) using
the InforMe website and reviewed the Maine Bureau of Motor Vehicle data with that on the
applications. Finding them consistent, the Registrar then reviewed the street address on all these
documents against the street list in CVR and the City of Augusta ward map. Determining that
the street listed on all these documents didn't exist in Augusta, the Registrar rejected the request.

        That invalid address meant that between the copy of Mr. Key's state ID card and the
CVR check of his information, the City could only confirm his identity, but not his residency. As
a result, a City employee accurately informed Mr. Key by letter on November 3, 2016 that the
City "cannot accept [his absentee ballot] request due to a non existing street address."


       2.     State in detail the procedures utilized in verifying voter eligibility requirements
including addresses. Please include any auditing measures the City of Augusta might
                                                                                           use to
ensure compliance with these procedures.

        OBJECTION: Vague; to the extent the requests seeks "auditing measures," the
Registrar's procedures are not subject to audit in the same manner as a publicly traded
company's finances, so it is not clear what "auditing measures" the request seeks. To
                                                                                            the
extent this request seeks publicly available information contained in state statutes,
                                                                                           City
ordinances, or on the City website, the parties' relative access to the relevant informati
                                                                                           on is
sufficiently comparable to not require its production in discovery.




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         RESPONSE: Subject to and without waiving the objection, please see Response #1,
supra. Further, the closest thing to "auditing measures" as requested are the several levels of
oversight of the voter registration process, both from within and without City government. As the
City Clerk, Ms. Roberta Fogg supervises the employees who work in her office. Ms. Fogg, in
turn, is overseen by the Assistant City Manager and Finance Director. Ultimately, City Manager
Mr. William Bridgeo is overall responsible for the oversight of many City employee functions,
including voter registration. Mr. Bridgeo is answerable to the City Council, who in turn are
answerable to the voters of the City of Augusta.

        In addition, there is a registration voter appeals process administered by the City, to
which an aggrieved would-be voter can bring complaints relative to voting registration. The
Maine Secretary of State's Office provides some oversight and training of municipal voter
registrations as well.


       3.     State in detail the policies followed when accepting Voter Registration and
Absentee Ballot applications from a third party.

       OBJECTION: To the extent this request seeks publicly available information
contained in state statutes, City ordinances, or on the City website, the parties' relative
access to the relevant information is sufficiently comparable to not require its production
in discovery. To the extent this information will be produced in response to requests for
production, the Plaintiff is directed to Defendants' objection & response to Request for
Production #3. Fed. R. Civ. P. 33(d).


       4.     Please describe in detail the official job duties and responsibilities of all
defendants with the exclusion of John Doe ## 1-4.

       OBJECTION: To the extent this request seeks publicly available information
contained in state statutes, City ordinances, or on the City website, the parties' relative
access to the relevant information is sufficiently comparable to not require its producti
                                                                                          on
in discovery. To the extent this information is being produced in response to requests
                                                                                        for
production, the Plaintiff is directed to those documents in lieu of a response
                                                                                      ; see
Defendants 17-21. Fed. R. Civ. P. 33(d).


       5.      Name and describe the responsibilities of any other City of Augusta employee
involved in the receiving, processing, handling, and disposition of Absentee Ballots.

      RESPONSE: Other than certain of the named Defendants, there are no such "other
employees" as described in this request. It should be pointed out that Ms. Gosselin's name
                                                                                           has
changed, and she is now Ms. Susan Broz.




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         6.      Please state the names, titles, and duties of any other person who was involved in
  the receiving, handling, processing, and disposition of the Plaintiffs Voter Registration
  application and application for Absentee Ballot.

         RESPONSE: Other than defendants Fogg & Broz(nee Gosselin), there are no such "other
  person[sr to identify as requested.


         7.       Please describe how the Plaintiffs criminal history is relevant or has any bearing
  with his right to vote, as guaranteed by state law.

         RESPONSE: Plaintiff is alleging violation of his rights as a member of a class of
  convicted felons. See Plaintiffs Interrogatory Response # 8. By seeking to establish his status
  as a convicted felon," Plaintiff has himself put his criminal history in general, and his felony
  conviction in particular, at issue. Id. Moreover credibility is always at issue, and Plaintiffs
  felony conviction in 2013 is admissible for -attacking [Plaintiff's] character for truthfulness."
  Fed. R. Evid. 609.


         8.      Please state in detail how each of the defendants(excluding John Doe ##1-4) feels
  about a convicted felon exercising his statutorily protected right to vote.

         OBJECTION: Irrelevant; unlikely to lead to the discovery of admissible evidence.

          RESPONSE: Notwithstanding and without waiving the foregoing objection, under Maine
  state law the City of Augusta is a "body corporate which may sue or be sued." 30-A M.R.S.
  2002. That legislative enactment, however, does not imbue the City with sentience, emotions, or
  feelings. Because it is incapable of having feelings of any kind, Defendant City of Augusta is
  unable to respond to this request.

         As for each of the named individual Defendants, their role is to serve the City of Augusta
 and its residents, and in so doing to follow the law. They feel it is their duty to enroll all potential
 voters who present the necessary information required by law, regardless of any potential voter's
 status as a convicted felon or otherwise.



         Dated:        , 2017
                                                 William Bide       City Manager



  STATE OF MAINE
  KENNEBEC,ss.




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          On this      day of June, 2017, the above-named A appearebefore .me and made
  oath that the foregoing is true to his own personal knowledge or upon information and belief, and
  as to those matters based upon information and belief, he believes such information to be true.

                                               Before me


                                               Notary Public     tomerat,
                                                                        ---Law
                                                                                            LATHE
                                               Name Typed or Printed          Notary Public, Maine
                                               My Commission Expires:MY Commission Expires January 24. 2021

  AS TO OBJECTIONS:

  DATED: June         ,2017
                                              Mark V. Franco, Esq., Bar No. 2967
                                              Timothy E. Steigelman, Esq., Bar No. 4672
                                              Counsel,for Defindants

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